                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN



UNITED STATES OF AMERICA,

                    Plaintiff,

      v.                                            Case No. 18–CR-62 (PP-DEJ)

BRIAN L. GANOS, SONAG COMPANY, INC.,
MARK F. SPINDLER, AND NUVO CONSTRUCTION CO., INC.

                    Defendants.


                   DEFENDANTS’ REPLY IN SUPPORT OF
                   OBJECTIONS TO RECOMMENDATION
                 TO DENY MOTION TO STRIKE JURY VENIRE




                                         I.

                                  INTRODUCTION


      At bottom, the government’s theme is that this Court should delay the day

of reckoning: that there are procedural escape routes that will provide temporary

refuge. Perhaps, it urges, the Seventh Circuit will ignore both the Supreme

Court’s decision in Berghuis v. Smith, 559 U.S. 314 (2010), and the en banc Ninth

Circuit’s conclusion that Berghuis ended exclusive reliance on the absolute

disparity test; never mind the fact that the Seventh Circuit itself has not relied on

its absolute disparity test in turning back fair cross-section challenges since




           Case 2:18-cr-00062-PP Filed 04/11/19 Page 1 of 6 Document 135
Berghuis. And perhaps, the government also beckons, an appellate court will

blink away the reality that, in a pool of a fixed size, the over-representation of

one group is the mirror image of under-representation of other groups.            Or

perhaps this Court can escape the judicially noticeable reality of significantly

higher voter turnouts in November general elections in the affluent, whiter

counties in the Milwaukee Division, that by design of this district’s Jury Plan

then overload the division’s qualified jury pool with citizens of those counties—

well beyond those counties’ proportionate share of the voting-age citizens in the

division. See FED. R. EVID. 201(b)(2) (judicial notice of adjudicative facts that are

“not subject to reasonable dispute” because they “can be accurately and readily

determined from sources whose accuracy cannot reasonably be questioned”).

      Maybe this theme of delay-and-deflect will work for now. But if by chance

it does not in the end, this Court will have held a three-week trial for naught,

assuming at least some convictions. If delay, denial of the obvious, and technical

objections do not carry the day in the Seventh Circuit, the case will be back after

trial for a hearing on the composition of the jury pool.

      Of course, the delay may not be that long. If this Court ignores the issue

now and assembles a jury panel for this trial, the motion to strike will be

renewed if that panel reflects the demographics of the qualified panel from

which it was drawn. The Court will have to decide then whether to proceed to

trial by twice rejecting a fair cross-section and Fifth Amendment challenge.


                                                                StrangBradley, LLC
                                       2	
        Case 2:18-cr-00062-PP Filed 04/11/19 Page 2 of 6 Document 135
      The government simply is wrong about at least one controlling point. It

claims that the “defendants laid out the best-case scenario they could prove at an

evidentiary hearing.” United States’ Response at 1 (ECF No. 133). No; as the

defendants have made quite clear, they did all that they were obliged to do: they

laid out enough to warrant a hearing at which the Court might hear actual

evidence, and then decide a motion on facts and law rather than on proffers.

      This Court could make a more realistic, substantial, and farsighted choice

than the government urges. Holding a hearing now will be more efficient than

holding one after a trial. And it will have the added virtue of allowing the Court

to consider substance, not just procedure and avoidance, in deciding whether

this district meaningfully over-represents white citizens and under-represents

everyone else in its system of selecting people for possible jury service.


                                         II.

                                      REPLY


      A.     Distinctive Groups.

             In the end, the question of who is a “distinctive group” is legal, not

factual. In deciding that legal issue, the defendants suggest that it would be

useful to have a full factual record—one that includes cross-examination and

probably competing experts—on just exactly what the demographics are of

voting-age citizens both in the division and on the qualified jury panel.


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                                       3	
        Case 2:18-cr-00062-PP Filed 04/11/19 Page 3 of 6 Document 135
             Likewise, in the end, “under-representation” is a legal issue. By the

time the parties get to briefing after a hearing, it is entirely possible that the

status of absolute disparity, either as a rigid and exclusive test or as a factor

among others, will be more clear than the government finds it today. Whether

over-representation, the mirror image of under-representation, counts also is a

legal question. Having a full factual record, not just competing narratives about

what an evidentiary hearing might produce, also will be useful in deciding that

legal question.

             When defendants say “useful” here, they mean in deciding the

substantial question of whether this district is violating systematically the Fifth

and Sixth Amendments with its Jury Plan. If, instead, delaying arrival of the day

when the Court must confront that unhappy possibility is the goal, as it is for the

government, then defendants agree that it is more “useful” for the Court to

conclude that defendants did not meet some procedural requirements to be

heard. That will allow business as usual for months, at least, and leave truth-

seeking stalled.

      B.     Over-Representation Specifically.

             Even if the Court chooses postponement of reckoning, though, there

is one bit of governmental overstatement of which the Court should be aware.

The government asserts that, “Courts have thus consistently rejected the

argument that overrepresentation of a group violates the fair cross-section


                                                                StrangBradley, LLC
                                       4	
        Case 2:18-cr-00062-PP Filed 04/11/19 Page 4 of 6 Document 135
requirement.” ECF No. 133 at 9. That asserted consistency comes down to

exactly one case from a district court on Long Island, Kotler v. Woods, 620 F.

Supp.2d 366 (E.D.N.Y. 2009). ECF No. 133 at 9. The other cases the government

cites stand for the proposition that whites are a distinctive group, which has

nothing to do with the over-representation question at all. But in fairness to the

government, there is one other case it could have cited. There also was the

district judge in northern Alabama who, 34 years ago, saw no constitutional

problem in overloading a jury pool with white men. United States v. Underwood,

617 F. Supp. 713, 718-20 (N. D. Ala. 1985). Whether two district judges cement

the idea of courts acting “consistently” the defendants leave for this Court.


                                        III.

                                 CONCLUSION


      Again, unless postponement of tough factual and legal questions is the

goal in itself, Sonag, Ganos, and Spindler should have a hearing on their motion

to strike the jury venire and their request for an evidentiary hearing.         The

government’s response only underscores why the legal and factual issues need

development that evidentiary hearings, not briefs alone, are designed to provide.

      Dated at Madison, Wisconsin, April 11, 2019.




                                                                StrangBradley, LLC
                                       5	
        Case 2:18-cr-00062-PP Filed 04/11/19 Page 5 of 6 Document 135
                                            Respectfully submitted,

                                            SONAG CO., INC., Defendant


                                            /s/ Dean A. Strang

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                                                                StrangBradley, LLC
                                       6	
        Case 2:18-cr-00062-PP Filed 04/11/19 Page 6 of 6 Document 135
